Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 1 of 8 PageID 13
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 2 of 8 PageID 14
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 3 of 8 PageID 15
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 4 of 8 PageID 16
     Case 3:18-cr-00169-M Document 3 Filed 04/02/18              Page 5 of 8 PageID 17


for the government to forfeit such property. The defendant agrees to hold the

government, its officers, agents, and employees harmless from any claim whatsoever in

connection with the seizure, forfeiture, storage, or disposal of such property.

       9.     Government's agreement: The government will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The government will file a Supplement in this case, as is

routinely done in every case, even though there may or may not be any additional terms.

This agreement is limited to the United States Attorney's Office for the Northern District

of Texas and does not bind any other federal, state, or local prosecuting authorities, nor

does it prohibit any civil or administrative proceeding against the defendant or any

property.

       10.    Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant's guilty plea is vacated or

withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

or withdrawn for any reason other than a finding that it was involuntary, the defendant

also waives objection to the use against the defendant of any information or statements

the defendant has provided to the government, and any resulting leads.

       11.    Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea




Plea Agreement-Page 5
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 6 of 8 PageID 18
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 7 of 8 PageID 19
Case 3:18-cr-00169-M Document 3 Filed 04/02/18   Page 8 of 8 PageID 20
